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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                     CASE NO. 22-60035-CIV-DIMITROULEAS

 JOSHUA LODHI,

        Plaintiff,

 V.

 I.C. SYSTEM, INC.,

       Defendant.
 _____________________________________/

                                  ORDER TO SHOW CAUSE
        THIS CAUSE is before the Court sua sponte.

        On January 6, 2022, this Court entered its initial Order, which required the parties to

 submit appropriate dismissal papers within ten (10) calendar days of notifying the Court that the

 case has settled. See [DE 5]. On February 3, 2022, Plaintiff’s Notice of Settlement was filed. See

 [DE 7]. However, as of the date of this Order, a stipulation, notice, or motion for dismissal has

 not been filed with the Court.

        Accordingly, it is ORDERED AND ADJUDGED that no later than February 22, 2022,

 the parties shall either file the appropriate dismissal papers or show cause why those papers have

 not been filed.


        DONE AND ORDERED in Chambers at Ft. Lauderdale, Broward County, Florida, this

 15th day of February, 2022.




 Copies furnished to:
 Counsel of record
